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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                No. 4:12CR00143-006 KGB

TENESHIA W. ROBERTS                                                            DEFENDANT

                                           ORDER

       On December 11, 2013, defense counsel contacted the Court to notify it of a medical

emergency in his immediate family. Therefore, this matter is removed from this Court’s calendar

for Thursday, December 12, 2013, and will be reset by amended notice.

       SO ORDERED this 11th day of December, 2013.



                                                   ____________________________________
                                                   Kristine G. Baker
                                                   United States District Judge
